                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5         ATTORNEYS FOR Defendant,
                           JUANITA MUNOZ
 6
 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9
                                                  ********
10
      UNITED STATES OF AMERICA,                         Case No.:       CR-09-00076 AWI
11                                                                      CR-09-00077 LJO
                       Plaintiff,
12
                                                                 STIPULATION RE:
13             vs.                                            CONTINUANCE OF STATUS
                                                                   CONFERENCE
14
      JUANITA MUNOZ, et al.,                            DATE: February 7, 2011
15                                                      TIME: 9:00 a.m.
                       Defendants.                      DEPT: 2
16
17
     TO:      THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S OFFICE
18            and/or ITS REPRESENTATIVES:
19            IT IS HEREBY STIPULATED by and between the parties herein that the Status
20   Conference currently scheduled for February 7, 2011, at 9:00 a.m. be continued to April 25, 2011,
21   at 9:00 a.m., before the Honorable Anthony W. Ishii.
22            This request is based upon the fact that counsel has not received the status report of Ms.
23   Munoz’s competency from her doctor at the Bureau of Prisons. Specifically, Ms. Munoz’s doctor
24   has advised that the evaluation is technically over on March 16, 2011, and a report reflecting the
25   findings will be submitted within two weeks of that date.
26            Counsel’s staff has been in touch with Mr. Mark Cullers of the United State’s Attorney’s
27   Office, and Jon Renge, attorney for Monique Anaya, who have no objection to such a continuance.
28   ///
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 1          It is your Declarant’s opinion that a continuance such as requested shall not prejudice any
 2   party concerned with this matter.
 3          Dated: February 2, 2011                        Respectfully Submitted,
 4                                                         NUTTALL & COLEMAN
 5                                                         /s/ MARK W. COLEMAN
                                                     By:
 6                                                         MARK W. COLEMAN
                                                           Attorney for Defendant,
 7                                                         JUANITA MUNOZ
 8
 9          Dated: February 2, 2011
10                                                   By: / s/ MARK CULLERS
                                                        MARK CULLERS
11                                                      Assistant U.S. Attorney
12
13          Dated: February 2, 2011
14                                                   By: /s/ JON RENGE
                                                         JON RENGE
15                                                       Attorney for Defendant,
                                                         MONIQUE ANAYA
16
17
18                                        ***************
19                                           ORDER
20          Good cause appearing,
21          IT IS ORDERED that the Status Conference currently scheduled on February 7, 2011, at
22   9:00 a.m. is continued to April 25, 2011, at 9:00 a.m.
23   IT IS SO ORDERED.
24
     Dated:             February 3, 2011
25   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE
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